       2:25-cv-03176-RMG                 Date Filed 06/07/25             Entry Number 9             Page 1 of 4




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF SOUTH CAROLINA
                                      CHARLESTON DIVISION


IN RE: AQUEOUS FILM-FORMING                                    MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY
LITIGATION                                                     This Document relates to:
                                                               See Cases Listed in Exhibit A Attached Hereto




    NAPOLI PLAINTIFFS’ MOTION FOR LEAVE TO FILE AMENDED COMPLAINTS

           PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law in Support

of Plaintiffs’ Motion for Leave to File Amended Complaints and accompanying exhibits, Plaintiffs

in the cases identified in Exhibit A attached hereto1 (the “Napoli Plaintiffs”) respectfully move

this Court for an Order pursuant to Federal Rule of Civil Procedure 15(a)(2) granting them leave

to file Amended Complaints that add four new defendants—Carrier Fire & Security, LLC; Carrier

Fire & Security Americas, LLC; Carrier Global Corporation; and National Foam, Inc.—and

incorporate corresponding allegations identical to the redlined changes in Exhibit B attached

hereto.

           Counsel for Plaintiffs conferred with Plaintiffs’ Co-Lead Counsel prior to the filing of this

Motion and obtained their consent. Pursuant to Local Civil Rule 702, Plaintiffs’ counsel conferred

with counsel for the four new defendants referenced above, as well as Co-Lead Counsel and Co-

Liaison Counsel for the Defendants’ Coordinating Committee, on the relief requested in this

motion. Counsel for the three Carrier entities does not object to the Motion or the relief it seeks.

The Defendants' Coordinating Committee also does not oppose the Motion or the relief it seeks,



1
    Plaintiffs in the cases listed in Exhibit A attached hereto are all represented by Napoli Shkolnik in this MDL.
    2:25-cv-03176-RMG           Date Filed 06/07/25       Entry Number 9        Page 2 of 4




with the caveat that Defendants do not waive any defenses with the proposed amendments,

including without limitation defenses based on statutes of limitation or repose. Counsel for

National Foam had not responded to Plaintiff’s outreach seeking to confer as of the time Plaintiff

filed this motion.

       PLEASE TAKE FURTHER NOTICE, that pursuant to Local Rule 7.06, opposing

affidavits and memoranda of law, if any, must be filed within fourteen days of the filing of this

Motion, unless the parties agree otherwise or the Court imposes a different schedule.



Dated: New York, New York                       Respectfully submitted,
       June 7, 2025
                                                NAPOLI SHKOLNIK

                                                By: /s/ Andrew W. Croner
                                                Andrew Croner, Esq.
                                                Patrick Lanciotti, Esq.
                                                Nicholas Mindicino, Esq.
                                                360 Lexington Avenue, 11th Fl.
                                                New York, New York 10017
                                                (212) 397-1000
                                                acroner@napolilaw.com
                                                planciotti@napolilaw.com
                                                nmindicino@napolilaw.com

                                                Paul J. Napoli, Esq.
                                                Hunter Shkolnik, Esq.
                                                1302 Avenida Ponce de León
                                                Santurce, Puerto Rico 00907
                                                (833) 271-4502
                                                pnapoli@nsprlaw.com
                                                hunter@nsprlaw.com

                                                Counsel for the Napoli Plaintiffs




                                                2
    2:25-cv-03176-RMG          Date Filed 06/07/25   Entry Number 9   Page 3 of 4




Approved for filing by Plaintiffs’ Lead Counsel:

 /s/ Scott Summy
Scott Summy
ssummy@baronbudd.com

/s/ Michael A. London
Michael A. London
mlondon@douglasandlondon.com

 /s/ Joseph Rice
Joseph Rice
jrice@motleyrice.com




                                               3
    2:25-cv-03176-RMG           Date Filed 06/07/25       Entry Number 9         Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2025, the foregoing was electronically filed with the

Clerk of the Court using the CM/ECF system which will send notification of such filing upon

counsel of record.




                                                     /s/ Andrew Croner

                                                     Andrew Croner, Esq.
